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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Case No. 1:19-cv-02199-NYW

 POPSOCKETS LLC

                Plaintiff,
 v.

 MICHOEL SUSSMAN, and
 JOHN DOES 1-10,

                Defendants.


                                 NOTICE OF SETTLEMENT


       Plaintiff PopSockets LLC (“PopSockets”), by and through counsel, hereby submits this

Notice of Settlement, and states as follows:

       The parties have reached a settlement of all claims asserted in this action, and all parties

have executed a settlement agreement. The parties anticipate fulfilling the terms of the settlement

agreement by October 10, 2019.

       Upon fulfillment of the terms of the settlement agreement, Plaintiff will file a Notice of

Dismissal in accordance with the terms of the Settlement Agreement.

       Although counsel for Defendant has not entered an appearance, counsel have agreed that

in light of the settlement Defendant will not be filing an answer, and Plaintiff similarly proposes

that the currently scheduled deadlines and Scheduling Conference be vacated and that the Court

set a dismissal deadline.




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                                  Respectfully submitted,
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                                  Counsel for Plaintiff PopSockets LLC




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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was electronically filed with the Court on
October 9, 2019. Notice of this filing will be sent to all counsel of record by operation of the
Court’s electronic filing system, and will be sent to Defendant’s counsel via email.



                                            /s/ Matthew Groves
                                            Matthew Groves




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